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                                    10                           UNITED STATES DISTRICT COURT
                                    11                               DISTRICT OF ARIZONA
                                    12
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                                              Luis Varela                                        Case Number: ________________
                                    13
                 Phoenix, Arizona




                                    14                             Plaintiff,                    Complaint For Damages
                                              v.
                                    15                                                           Jury Trial Demanded
                                    16        Asset Acceptance, LLC

                                    17                             Defendant.
                                    18
                                    19
                                    20                                            INTRODUCTION
                                    21   1.        The United States Congress has found abundant evidence of the use of
                                    22             abusive, deceptive, and unfair debt collection practices by many debt
                                    23             collectors, and has determined that abusive debt collection practices
                                    24             contribute to the number of personal bankruptcies, to marital instability, to the
                                    25             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                    26             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                    27             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                    28             to insure that those debt collectors who refrain from using abusive debt

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                                     1         collection practices are not competitively disadvantaged, and to promote
                                     2         consistent State action to protect consumers against debt collection abuses.
                                     3   2.    Luis Varela, (Plaintiff), through Plaintiff's attorneys, brings this action to
                                     4         challenge the actions of Asset Acceptance, LLC, (“Defendant”), with regard
                                     5         to attempts by Defendant to unlawfully and abusively collect a debt allegedly
                                     6         owed by Plaintiff, and this conduct caused Plaintiff damages.
                                     7   3.    Plaintiff makes these allegations on information and belief, with the exception
                                     8         of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                     9         Plaintiff alleges on personal knowledge.
                                    10   4.    While many violations are described below with specificity, this Complaint
                                    11         alleges violations of the statutes cited in their entirety.
                                    12   5.    Unless otherwise stated, all the conduct engaged in by Defendant took place
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                                    13         in Arizona.
                 Phoenix, Arizona




                                    14   6.    Any violations by Defendant were knowing, willful, and intentional, and
                                    15         Defendant did not maintain procedures reasonably adapted to avoid any such
                                    16         violation.
                                    17                                     JURISDICTION AND VENUE
                                    18   7.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                    19         1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                    20   8.    This action arises out of Defendant's violations of the Fair Debt Collection
                                    21         Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).
                                    22   9.    Because Defendant does business within the State of Arizona, personal
                                    23         jurisdiction is established.
                                    24   10.   Venue is proper pursuant to 28 U.S.C. § 1391.
                                    25   11.   At all times relevant, Defendant conducted business within the State of
                                    26         Arizona.
                                    27   //
                                    28   //

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                                     1                                                 PARTIES
                                     2   12.   Plaintiff is a natural person who resides in the City of Glendale, State of
                                     3         Arizona.
                                     4   13.   Defendant is located in the City of Warren, in the State of Michigan.
                                     5   14.   Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                     6         as that term is defined by 15 U.S.C. § 1692a(3).
                                     7   15.   Defendant is a person who uses an instrumentality of interstate commerce or
                                     8         the mails in a business the principal purpose of which is the collection of
                                     9         debts, or who regularly collects or attempts to collect, directly or indirectly,
                                    10         debts owed or due or asserted to be owed or due another and is therefore a
                                    11         debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                    12                                       FACTUAL ALLEGATIONS
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                                    13   16.   Sometime before June 17, 2010, Plaintiff is alleged to have incurred certain
                 Phoenix, Arizona




                                    14         financial obligations.
                                    15   17.   These financial obligations were primarily for personal, family or household
                                    16         purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                    17         §1692a(5).
                                    18   18.   Sometime thereafter, but before June 17, 2010, Plaintiff allegedly fell behind
                                    19         in the payments allegedly owed on the alleged debt. Plaintiff currently takes
                                    20         no position as to the validity of this alleged debt.
                                    21   19.   Subsequently, but before June 17, 2010, the alleged debt was assigned,
                                    22         placed, or otherwise transferred, to Defendant for collection.
                                    23   20.   On or about June 17, 2010, Defendant mailed a dunning letter to Plaintiff. A
                                    24         few days later, Plaintiff received that letter.
                                    25   21.   This communication to Plaintiff was a “communication” as that term is
                                    26         defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                    27         with 15 U.S.C. § 1692g(a).
                                    28

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                                     1   22.   Subsequently, but within the thirty-day period described in 15 U.S.C. §
                                     2         1692(a), Plaintiff notified Defendant in writing, that this alleged debt, or some
                                     3         portion of it, was disputed.
                                     4   23.   On or about October 1, 2010, Plaintiffs sent to Defendant a letter in which
                                     5         Plaintiffs advised Defendant that Plaintiffs refused to pay the alleged debt in a
                                     6         manner consistent with the requirements pursuant to 15 U.S.C. § 1692c(c).
                                     7   24.   After receiving Plaintiff’s refusal to pay letter dated October 1, 2010,
                                     8         Defendant continued to call Plaintiff several more times in an attempt to
                                     9         collect the alleged debt, including but not limited to: on or about October 29,
                                    10         2010, November 1, 2010, November 10, 2010 and November 11, 2010.
                                    11   25.   After Defendant was notified in writing that Plaintiff refused to pay the
                                    12         alleged debt, Defendant continued its communications with respect to such
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                                    13         debt, for a purpose other than enumerated in 15 U.S.C. § 1692c(c).
                 Phoenix, Arizona




                                    14         Consequently, Defendant violated 15 U.S.C. § 1692c(c).
                                    15   26.   Through this conduct, Defendant engaged in conduct the natural consequence
                                    16         of which was to harass, oppress, or abuse a person in connection with the
                                    17         collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
                                    18   27.   Through this conduct, Defendant caused a telephone to ring or engaged a
                                    19         person in telephone conversations repeatedly or continuously with intent to
                                    20         annoy, abuse, or harass any person at the called number.                        Consequently,
                                    21         Defendant violated 15 U.S.C. § 1692d(5).
                                    22   28.   In addition to the collection telephone calls, Defendant also sent Plaintiff an
                                    23         additional collection letter dated November 1, 2010.
                                    24   29.   After Defendant was notified in writing that Plaintiff refused to pay the
                                    25         alleged debt, Defendant continued its communications with respect to such
                                    26         debt, for a purpose other than enumerated in 15 U.S.C. § 1692c(c).
                                    27         Consequently, Defendant violated 15 U.S.C. § 1692c(c).
                                    28

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                                     1   30.   During the November 10, 2010 collection call from Defendant, Plaintiff
                                     2         informed Defendant that Plaintiff had previously sent a refusal to pay letter.
                                     3         This conversation included Plaintiff reading the letter to Defendant’s agent.
                                     4   31.   Defendant’s agent’s response to Plaintiff was that Defendant was
                                     5         “disregarding” Plaintiff’s letter, because he sent two previous letters to
                                     6         Defendant. Furthermore, Defendant threatened to continue calling Plaintiff
                                     7         because despite his refusal to pay letter, Plaintiff “still owed the debt.”
                                     8   32.   Through this conduct, Defendant used a false, deceptive, or misleading
                                     9         representation or means in connection with the collection of a debt.
                                    10         Consequently, Defendant violated 15 U.S.C. § 1692e and 15 U.S.C. §
                                    11         1692e(10).
                                    12   33.   Through this conduct, Defendant threatened to take action that cannot legally
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                                    13         be taken or that is not intended to be taken. Consequently, Defendant violated
                 Phoenix, Arizona




                                    14         15 U.S.C. § 1692e(5).
                                    15   34.   Through this conduct, Defendant engaged in conduct the natural consequence
                                    16         of which was to harass, oppress, or abuse a person in connection with the
                                    17         collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
                                    18   35.   Through this conduct, Defendant used an unfair or unconscionable means to
                                    19         collect or attempt to collect any debt. Consequently, Defendant violated 15
                                    20         U.S.C. § 1692f.
                                    21   36.   Due to Defendant’s actions, Plaintiff has suffered actual damages in the form
                                    22         of mental anguish which manifested in several symptoms including but not
                                    23         limited to: stress, anxiety, sleeplessness, hopelessness, pessimism,
                                    24         restlessness, irritability, guilt, helplessness, and depression all impacting his
                                    25         work and personal relationships.
                                    26   //
                                    27   //
                                    28   //

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                                     1                                          CAUSES OF ACTION
                                     2                                                 COUNT I
                                     3                     FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                     4                                      15 U.S.C. §§ 1692 ET SEQ.
                                     5   37.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                     6         paragraphs.
                                     7   38.   The foregoing acts and omissions constitute numerous and multiple violations
                                     8         of the FDCPA, including but not limited to each and every one of the above-
                                     9         cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                    10   39.   As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                    11         any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
                                    12         an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
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                                    13         reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                 Phoenix, Arizona




                                    14         Defendant.
                                    15                                         PRAYER FOR RELIEF
                                    16   WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
                                    17   Plaintiff be awarded damages from Defendant, as follows:
                                    18         •      An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
                                    19         •      An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
                                    20                1692k(a)(2)(A);
                                    21         •      An award of costs of litigation and reasonable attorney’s fees, pursuant
                                    22                to 15 U.S.C. § 1692k(a)(3).
                                    23   //
                                    24   //
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                                     1   40.   Pursuant to the seventh amendment to the Constitution of the United States of
                                     2         America, Plaintiff is entitled to, and demands, a trial by jury.
                                     3
                                     4   Respectfully submitted,
                                                                                                  Hyde & Swigart
                                     5
                                     6
                                         Date: November 22, 2010                                 By: /s/ David J. McGlothlin
                                     7
                                                                                                 David J. McGlothlin
                                     8                                                           Attorneys for Plaintiff
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                 Phoenix, Arizona




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